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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,            )
                                     )
     Plaintiff,                      )
                                     )    4:05CR3082
     v.                              )
                                     )
LUIS F. NUNEZ and                    )       ORDER
ERIKA M. PENA,                       )
                                     )
     Defendants.


     IT IS ORDERED:

     1. An evidentiary hearing on defendant Nunez’s motion to
suppress evidence, filing 20, will be held before the undersigned
on September 19, 2005 at 1:30 p.m. in Courtroom #2, United States
Courthouse and Federal Building, 100 Centennial Mall North,
Lincoln, Nebraska. The hearing is scheduled for a duration of
two hours. In the event counsel believe additional time is or
may be necessary, they should contact my courtroom deputy as soon
as practicable.

     2. Copies of all exhibits expected to be offered into
evidence during the hearing, except those to be used for
impeachment only, shall be delivered to the chambers of the
undersigned at least two working days prior to the hearing.

     3. The trial of this case, as pertains to ALL defendants,
is continued until further order of the court following
resolution of outstanding motions.

     Dated August 23, 2005.

                                    BY THE COURT



                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
